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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
               v.                               :    Case No. 1:21-cr-214 (JDB)
                                                :
JOSEPH LINO PADILLA                             :
also known as “Jose Padilla,”                   :
                                                :
                       Defendant.               :


                UNITED STATES’ OPPOSITION TO THE DEFENDANT’S
                     REQUEST FOR ACCESS TO DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this opposition to the defendant’s “request” for

access to the Relativity global discovery database without presence of his counsel.

                                  PROCEDURAL HISTORY

       On February 23, 2021, the defendant, Joseph Lino Padilla, was arrested on charges related

to his conduct at the United States Capitol on January 6, 2021. Following his arrest, Magistrate

Judge Zia Faruqui conducted a detention hearing on March 31, 2021, at which time the court

ordered the defendant detained pending trial.

       On April 9, 2021, this Court issued an unopposed protective order governing discovery in

this case. ECF 14. This protective order requires, among other things, that “defense counsel may

not provide a copy of Highly Sensitive materials to Defendant or permit Defendant to view such

materials unsupervised by defense counsel” or other members of the defense team. Id. at 3. Highly

sensitive materials can include “personal identity information,” “information regarding the

government’s confidential sources,” “information that may jeopardize witness security,”

information related to “individuals that do not appear to be related to the criminal conduct in this
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case,” “medical or mental health records,” surveillance footage from the United States Capitol,

and “materials designated as ‘security information’ pursuant to 2 U.S.C. § 1979.” Id. at 1-2. Where

a defendant is detained by the United States Marshals Service, “defense counsel may provide a

copy of discovery materials to the appropriate point of contact so that the defendant can view the

discovery materials, subject to the terms of this Order.” Id. at 4.

         On February 23, 2023, the defendant filed a request for access to discovery. ECF 70. In the

filing, the defendant requests “personal access to available evidence,” specifically “access to [the]

Relativity” global discovery database for January 6 cases. Id. at 1-2. To facilitate this access, the

defendant further asks for a computer to “use continuously from now until the completion of his

trial.” Id. at 2. Lastly, the defendant also requested “full time access to his case specific discovery.”

Id.1

         At this time, the defendant remains detained, and a jury trial is scheduled for May 1, 2023.

                                            ARGUMENT

        I.   The Court should not amend the existing protective order

         Federal Rule of Criminal Procedure 16(d)(1) states that “[a]t any time the court may, for

good cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief” in

regulating discovery. Requests to limit discovery under Rule 16(d)(1) are subject to a “balancing

of interests,” United States v. Williams Cos., Inc., 562 F.3d 387, 395 (D.C. Cir. 2009), with the

government’s showing of good cause weighed against any imposition that the proposed limitation

would place on the defendant’s Sixth Amendment right to present an effective defense, United

States v. Celis, 608 F.3d 818, 829 (D.C. Cir. 2010). It is well established that protective orders are

appropriate where the disclosure of discovery could jeopardize the national security of the United



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    The government takes no position on defendant’s request for additional access to counsel.

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States, compromise an ongoing investigation, or infringe on the privacy of uncharged third parties

and others associated with a case. See, e.g., United States v. Concord Mgmt. & Consulting LLC,

404 F. Supp. 3d 67, 75 (D.D.C. 2019); United States v. Lindh, 198 F. Supp. 2d 739, 742 (E.D. Va.

2002).

            a. There is good cause to continue to limit the defendant’s access to the Relativity

                database

         The global discovery contained in the Relativity database far exceeds the information to

which the defendant is entitled under Federal Rule of Criminal Procedure 16, the Jencks act, or the

government’s Brady obligations. Nonetheless, this vast quantity of data has been made available

to Padilla and other defendants due to the unique circumstances of this matter, i.e., literally

hundreds of similar crimes being committed in the same place contemporaneously. By way of

example, the defense instance of Relativity workspace contains over 60,000 tips provided to the

FBI; information that if disclosed, would reveal the identities of tipsters and could jeopardize their

safety. Moreover, the database also includes background information, including personal identity

information accumulated about investigation subjects—including uncharged individuals; and

financial, communications, and travel records pertaining to investigation subjects.

         The amount of sensitive and highly sensitive material in Relativity is continually growing

with the addition of new materials derived from searches of subjects’ digital devices and social

media accounts, and interviews with defendants, witnesses, and victims. If the defendant’s motion

is allowed, he would gain unmonitored access to hundreds of thousands of documents containing

such sensitive information.

         Further, although the defendant stylized his filing as a request for access to the Relativity

database, he already has access to it by way of his attorney who has long had full access to global

discovery to aid in the defendant’s preparation for trial. By contrast, even in cases where a


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defendant proceeds pro se, courts have held that a protective order limiting the defendant’s access

to certain kinds of discovery is appropriate. See, e.g., United States v. Bisong, 645 F.3d 384, 396-

97 (D.C. Cir. 2011) (pro se defendant’s contention that the district court denied him an opportunity

to review discovery and prepare his pro se defense failed where district court ensured standby

counsel had access to the discovery materials and was getting defendant the records he requested

prior to trial); United States v. Galloway, 749 F.3d 238, 242 (4th Cir. 2014) (requirement that pro

se defendant review discovery in the courthouse’s lockup area and restriction on bringing

discovery materials back to the detention center where he was being held did not deprive defendant

of meaningful access to discovery); United States v. Sarno, 73 F.3d 1470, 1492 (9th Cir.1995) (no

constitutional violation where government allowed defendant to review discovery to determine

which documents should be copied for his pretrial preparation—but gave him only 20 hours to

inspect 250,000 pages of material). As such, the defendant cannot show that his continuing

restricted access to the Relativity database hinders his ability to prepare for trial such that it

outweighs the government’s interest in protecting the sensitive information contained within.

                                         CONCLUSION

       For these reasons, the United States requests that this Court deny the defendant’s filing to

amend the protective order and provide him with unfettered access to the Relativity global

discovery database.




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                           Respectfully submitted,

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